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                        UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

 NUVASIVE, INC.,

                       Plaintiff,

 v.                                                        Case No: 6:17-cv-2206-Orl-41GJK

 ABSOLUTE MEDICAL, LLC; GREG
 SOUFLERIS; DAVE HAWLEY;
 ABSOLUTE MEDICAL SYSTEMS,
 LLC; and RYAN MILLER,

                       Defendants.



                                           ORDER
        This cause came on for consideration without oral argument on the following motion:

        MOTION:        NON-PARTY ORTHOFIX, INC.’S MOTION TO QUASH
                       PLAINTIFF NUVASIVE, INC.’S SUBPOENA DUCES
                       TECUM TO ORTHOFIX, INC. (Doc. No. 100)

        FILED:         August 6, 2018



        THEREON it is ORDERED that the motion is DENIED.

        On August 6, 2018, “Non-Party Orthofix, Inc.’s Motion to Quash Plaintiff Nuvasive, Inc.’s

 Subpoena Duces Tecum to Orthofix, Inc.” (the “Motion”) was filed. Doc. No. 100. Plaintiff served

 a subpoena on Orthofix, requesting the production of documents to Plaintiff’s counsel on August

 6, 2018. Doc. No. 100-1 at 2. The subpoena requires production in Nashville, Tennessee. Id.

        Orthofix moves to quash the subpoena “pursuant to Rule 45(d)(3)(A)(iv) as unduly

 burdensome, pursuant to Rule 26 as outside the scope of permissible discovery, and pursuant to
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 Rule 45(d)(3)(A)(iii) as it improperly seeks to compel disclosure of Orthofix’s privileged and

 confidential information.” Doc. No. 100 at 1, 5.

        “Under the 2013 amendments to Federal Rule of Civil Procedure 45, the district court with

 jurisdiction to enforce and to quash subpoenas is ‘the court for the district where compliance is

 required,’ which may or may not be the court that issued the subpoena.” Narcoossee Acquisitions,

 LLC, v. Kohl’s Dep’t Stores, Inc., No. 6:14-cv-203-Orl-41TBS, 2014 WL 4279073, at *1 (M.D.

 Fla. Aug. 28, 2014) (quoting Fed. R. Civ. P. 45(d)(1), (d)(3), (g)). Here, the subpoena was issued

 by this Court, but requests that the documents be produced in Tennessee, which is outside this

 Court’s jurisdictional boundaries. The Motion fails to provide any authority for the proposition

 that this Court is the proper venue to request quashing the subpoena. Doc. No. 100.

        Accordingly, it is ORDERED that the Motion (Doc. No. 100) is DENIED.

        DONE and ORDERED in Orlando, Florida, on August 13, 2018.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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